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Monica Gibson
115 Travelers Lane
Beckley, WV 25801
(304) 228-4228
19 July 2023

Honorable, Joseph R. Goodwin

Dear Judge Goodwin

My name is Monica Gibson and I am Larry A. Clay’s sister. I couldn't ask for a more caring brother
than Larry. I started having problems with my health in the early part of 1995. It started with
memory loss, a change in personality, and losing weight.

My siblings and I had never taken drugs, never drank, so my family knew that my health problem
wasn’t caused by anything like that. I was diagnosed with bipolar disorder and schizophrenia. I
was hospitalized several times and then again in 2008. Larry talked with the Doctor and asked if
he could run more tests and they did. One of the tests was a brain scan and it showed a shadow
over the frontal lobe. When I was released from the hospital, Larry took me to the UVA to have
another brain scan and it was a tumor. Mom and I moved in with Larry so he could help her with
my medical care as her health had started to decline. I also have arthritis. I had pneumonia
several times and during all my health crises Larry was always there and went above and beyond
to help me and the family.

Mom had a heart attack and she also has COPD and degenerative bone disease, ruptured disk
and bulging disk. Mom and I both had pneumonia this year. Mom is on oxygen and is on a Trilogy
100 breathing machine 4 to 5 hours a day now. She has had eye surgery, leg surgery for
blockages and heart stents . Mom and I have depended upon Larry through all of our health
crises, decision making and anything else that went wrong, Larry was there to help.

 In 2015 I suffered a stroke and in 2022 I was diagnosed with breast cancer and had surgery and
radiation therapy. My baby sister, Crystal, had surgery for stage 4 breast cancer. She had radiation
therapy and chemotherapy. Not too long ago she had to stop chemo because it was causing her
heart to enlarge, so she is dealing with that right now. Mom said we were 15 minutes apart going
to the O.R. Judge Goodwin, I tell you all of this in the hope that you will see how much we need
Larry at home. Not only do I need him but Mom does as well. After she was discharged from the
hospital this past December, she received a letter from the hospital to take to her doctor
concerning a lung scan that she had. It shows something on her lungs.

Your Honor, Could you please take into consideration our family hardships when you make your
decision and let Larry serve the time that he may get in home confinment. If ever there was a
family hardship, we are going through it right now.

Your Honor, Thank you for taking the time to read my letter.
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I’ve asked Mom to type this letter for me as it is hard for me to write now.




Sincerely,




Monica Gibson
Monica Gibson

Dictated by Lodema J. Clay
